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                            UNITED STATES DISTRICT COURT

                               DISTRICT OF MINNESOTA


PEAKSPEED, INC.,

              Plaintiff,

v.                                            Civil No. 20-1630 (JRT/BRT)

TIMOTHY EMERSON, et al,

           Defendants.
_________________________

FG SRC LLC,

              Plaintiff,

v.                                            Civil No. 21-614 (MJD/HB)

PEAKSPPED, INC., et al.

              Defendants.




                     ORDER OF DIRECTION TO THE CLERK OF COURT
                        FOR REASSIGNMENT OF RELATED CASE


      Case No. 20-cv-1630 (JRT/BRT) having been assigned to Judge John R. Tunheim
and Magistrate Judge Becky R. Thorson and Case No. 21-cv-614 (MJD/HB) having later
been assigned to Judge Michael J. Davis and Magistrate Judge Hildy Bowbeer, and said
matters being related cases,
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       IT IS HEREBY ORDERED that Case No. 21-cv-614 (MJD/HB) be assigned to Judge
John R. Tunheim and Magistrate Judge Becky R. Thorson, nunc pro tunc, by use of a card
from the appropriate deck in the automated case assignment system. The Clerk of
Court is directed to reuse a card from the same deck from which the original assignment
was made pursuant to the Court’s Assignment of Cases order filed January 10, 2020.


       IT IS FINALLY ORDERED that a copy of this order shall be filed in each of the
above respective files.



Dated: March 5, 2021                     s/John R. Tunheim
                                         John R. Tunheim
                                         Chief Judge
                                         United States District Court

Dated: March 5, 2021                     s/Judge Michael J. Davis
                                         Michael J. Davis
                                         United States District Court Judge
